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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION


JON YOKUBAITIS ET AL                         CASE NO. 2:22-CV-04360

VERSUS                                       JUDGE DAVID C. JOSEPH

STATE FARM FIRE & CASUALTY CO                MAGISTRATE JUDGE DAVID J.
                                             AYO


                                  JUDGMENT

       Before this Court is a MOTION TO REOPEN CASE AND SET HEARING ON

ENTITLEMENT TO ATTORNEY’S FEES HELD IN ESCROW (IOLTA) ACCOUNT filed by the

law firm of Cox, Cox, Filo, Camel, Wilson and Brown, LLC (“Cox”) (Doc. 27). This

motion was referred to United States Magistrate Judge David J. Ayo for report and

recommendation. After an independent review of the record, including the OBJECTION

TO REPORT AND RECOMMENDATION filed (Doc. 30), this Court concludes that the


Magistrate Judge’s REPORT AND RECOMMENDATION is correct and adopts the findings

and conclusions therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the

REPORT AND RECOMMENDATION, Cox’s MOTION TO REOPEN CASE AND SET HEARING ON

ENTITLEMENT TO ATTORNEY’S FEES HELD IN ESCROW (IOLTA) ACCOUNT is DENIED in

all respects.
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      THUS DONE AND SIGNED in Chambers this 2nd day of May, 2025.




                                   _____________________________________
                                   DAVID C. JOSEPH
                                   UNITED STATES DISTRICT JUDGE
